                                                                                                                                                                                                    Clear Form


  UNITED STATES DISTRICT COURT                                                                            TRANSCRIPT ORDER                                                                         COURT USE ONLY
 NORTHERN DISTRICT OF CALIFORNIA                                                                 Please use one form per court reporter.                                                              DUE DATE:
                  CAND 435                                                                         CJA counsel please use Form CJA24
              (CAND Rev. 02/2015)                                                                Please read instructions on next page.
1a. CONTACT PERSON FOR THIS ORDER                                                2a. CONTACT PHONE NUMBER                                                   3. CONTACT EMAIL ADDRESS
 Chris Sanders                                                                            (202) 616-1840                                                       christopher.w.sanders@usdoj.gov
1b. ATTORNEY NAME (if different)                                                 2b. ATTORNEY PHONE NUMBER                                                  3. ATTORNEY EMAIL ADDRESS


4. MAILING ADDRESS (INCLUDE LAW FIRM NAME, IF APPLICABLE)                                                    5. CASE NAME                                                                             6. CASE NUMBER

555 4th St NW, Washington, D.C. 20001                                                                         Public.Resource.Org v. United States Internal Revenu 13-cv-2789
                                                                                                             8. THIS TRANSCRIPT ORDER IS FOR:

7. COURT REPORTER NAME ( FOR FTR, LEAVE BLANK AND CHECK BOX)ȹ ޫ
                                                              ✔ FTR                                          倯
                                                                                                             ✔ APPEAL             倯 CRIMINAL      倯 In forma pauperis (NOTE: Court order for transcripts must be attached)
                                                                                                             倯 NON-APPEAL         倯
                                                                                                                                  ✔ CIVIL         CJA: Do not use this form; use Form CJA24.

9. TRANSCRIPT(S) REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested), format(s) & quantity and delivery type:

 a.          HEARING(S) (OR PORTIONS OF HEARINGS)                                         b.             SELECT FORMAT(S) (NOTE: ECF access is included          c.         DELIVERY TYPE ( Choose one per line)
                                                                                                         with purchase of PDF, text, paper or condensed.)

      DATE           JUDGE             TYPE                    PORTION                           PDF        TEXT/ASCII    PAPER       CONDENSED   ECF ACCESS     ORDINARY     14-Day   EXPEDITED       DAILY      HOURLY     REALTIME
                                                  If requesting less than full hearing,        (email)        (email)                   (email)      (web)       (30-day)                (7-day)     (Next day)    (2 hrs)
                     (initials)     (e.g. CMC)   specify portion (e.g. witness or time)

06/18/0201           WHO             Motion                                                     F              F            F
                                                                                                                            ●               F        F             F           ●
                                                                                                                                                                               F          F            F           F           F
01/14/2015           WHO             Motio                                                      F              F            F
                                                                                                                            ●               F        F             F           F
                                                                                                                                                                               ●          F            F           F           F
                                                                                                F              F            F               F        F             F           F          F            F           F           F
                                                                                                F              F            F               F        F             F           F          F            F           F           F
                                                                                                F              F            F               F        F             F           F          F            F           F           F
                                                                                                F              F            F               F        F             F           F          F            F           F           F
10. ADDITIONAL COMMENTS, INSTRUCTIONS, QUESTIONS, ETC:



ORDER & CERTIFICATION (11. & 12.) By signing below, I certify that I will pay all charges (deposit plus additional).                                                               12. DATE
                                                                                                                                                                                                                                        Case 3:13-cv-02789-WHO Document 70 Filed 03/25/15 Page 1 of 1




11. SIGNATURE
                    /s/ Christopher W. Sanders                                                                                                                                    03/25/2015

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